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                        APPENDIX C:

    PROPOSED ORDER TERMINATING FINAL JUDGMENTS
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                   UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF GEORGIA



IN RE: TERMINATION OF LEGACY
ANTITRUST JUDGMENTS IN THE             Civil Action No. ____
MIDDLE DISTRICT OF GEORGIA




UNITED STATES OF AMERICA,
     Plaintiff,

                 v.                    Civil Action No. 719

ATLANTIC COMPANY, et al.,
    Defendants.




UNITED STATES OF AMERICA,
     Plaintiff,

                 v.                    Civil Action No. 771

HEYWARD ALLEN MOTOR COMPANY,
INC., et al.,
       Defendants.




UNITED STATES OF AMERICA,
     Plaintiff,

                 v.                    Civil Action No. 777

SOUTHEASTERN PEANUT
ASSOCIATION,
     Defendant.
          Case 5:19-mc-00004-CDL Document 1-4 Filed 04/23/19 Page 3 of 3




UNITED STATES OF AMERICA,
     Plaintiff,

                       v.                              Civil Action No. 75-28-COL

TOM’S FOODS LTD.,
     Defendant.



                [PROPOSED] ORDER TERMINATING FINAL JUDGMENTS


         The Court having received the motion of plaintiff United States of America for

termination of the final judgments entered in the above-captioned cases, and the Court

having considered all papers filed in connection with this motion, and the Court finding that

it is appropriate to terminate these final judgments, it is




         ORDERED, ADJUDGED, AND DECREED:
         That said final judgments are hereby terminated.




Dated:
                                                        United States District Court Judge
                                                        Middle District of Georgia




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